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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

 IN RE:                                          )
                                                 )         Case No. 24-12624-KHT
 DNC AND TCPA LIST SANITIZER, LLC                )
 EIN: XX-XXXXXXX                                 )         Chapter 11
                                                 )         Sub-Chapter V
          Debtor                                 )

                         OBJECTION TO PLAN CONFIRMATION


        Jeffrey Cohen, Esq. Attorney for Cohen, LLC (“Cohen”), hereby submits this
 Objection to Plan Confirmation and states as follows:


          1. Cohen is a general unsecured creditor of the Debtor timely filing its proof of
             claim for $200,976.23 (the “Claim”) and hereby objects to confirmation of the
             Debtor’s proposed Plan of Reorganization (the “Plan”).
          2. After reviewing the Plan it appears that Cohen’s Claim is placed by the
             Debtor in Class 4a and is treated in paragraph 6.1(a) on pages 15-16 of the
             Plan.
          3. It further appears that the Debtor is proposing to make fixed monthly
             payments into an “Unsecured Creditor Account” that would first be used to
             pay administrative claims and then only when administrative claims are paid
             in full will it be used to pay general unsecured creditors pro rata.
          4. Assuming this is a correct reading of paragraph 6.1(a) there is no analysis
             offered of what amounts are projected to be available to unsecured creditors,
             what percentage of their claim is to be paid and why this amount is a good
             faith and feasible effort at payment and whether or not a liquidation would
             better serve the interests of unsecured creditors.
          5. Without a good faith analysis of these issues it is impossible to make an
             informed decision and Cohen therefore argues that the plan and this
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           reorganization effort generally is not in good faith and is designed only to
           benefit Mr. and Mrs. O’Hare through outsized and otherwise unreasonable
           and to date unlawful “management” payments to their wholly owned
           holding company “Cashyew, LLC”. In at least this and all other regards,
           Cohen joins in all the objections to plan confirmation filed by the United
           States Trustee, the anticipated objection of Ringba LLC and those filed by all
           other creditors.
       6. In truth, this has never been a good faith filing and confirmation should be
           denied, and the case converted to one under Chapter 7.



 Wherefore, Cohen requests that this Court deny confirmation and convert this case to
 one under Chapter 7 and for such other and further relief this Court deems just and
 proper.




 Respectfully submitted this 8th day of April 2025.


                                                                                 COHEN LLC

                                                                         By: /s/ Jeffrey Cohen
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